of 1

 

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Cooley LLP, 11951 Freedom Drive, 14th Floor Reston VA 20190

 

 

 

8. CASE NUMBER
3:17-cv-00072

 

9. JUDGE
Joel C. Hoppe

DATES OF PROCEEDINGS

 

10. FROM 1/4/2019

| 11.TO 1/4/2019

 

12. CASE NAME
Sines v. Kessler

LOCATION OF PROCEEDINGS

 

 

13. cilry Charlottesville

| 14. STATE VA

 

15. ORDER FOR

[J APPEAL

[_] NON-APPEAL

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[_] BANKRUPTCY

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OPENING STATEMENT (Plaintiff)
OPENING STATEMENT (Defendant)
CLOSING ARGUMENT (Plaintiff) [ ] PRE-TRIAL PROCEEDING (Spey)
CLOSING ARGUMENT (Defendant)
OPINION OF COURT
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